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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA



  In re: Oil Spill by the Oil Rig                          MDL No. 2179
         “Deepwater Horizon” in the Gulf
         of Mexico, on April 20, 2010
                                                           SECTION: J
  This Document Relates to:
  All Cases in Pleading Bundle B1                          JUDGE BARBIER

  (This Document also applies to No. 10-2771)              MAGISTRATE SUSHAN




                                NOTICE OF SUBMISSION


       Subject to PRE-TRIAL ORDER NO. 15, Plaintiffs tentatively submit their Motion for Leave

to Supplement their Omnibus Opposition to the Defendants’ Motions to Dismiss the B1 Master

Complaint for Wednesday, June 8, 2011, at 9:30 a.m.



Respectfully submitted,


        /s/ Stephen J. Herman                           /s/ James Parkerson Roy
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